Case 1:04-cr-10075-.]DT Document 18 Filed 08/10/05 Page 1 of 2 Page|D 17

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA

VS. Cr. NO. 1:04-10075-Ol-T

MELVIN STEWART, III

ORDER OF DISMISSAL

Upon motion Of the United States Attorney and for good cause
Shown, it iS,
ORDERED that the indictment in this case, as to the defendant,

Melvin Stewart, III, be and is hereby dismissed.

Q@/MA-QM/

JAM D. TODD
UN ED STATES DISTRICT JUDGE

DATE:/O Q{&(F)M¢]L W$'_

IT IS SO ORDERED.

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DISTRIC COUR - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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Honorable J ames Todd
US DISTRICT COURT

